16-11700-smb        Doc 210       Filed 08/22/16 Entered 08/22/16 10:05:01                   Main Document
                                              Pg 1 of 3



ROPES & GRAY LLP
Gregg M. Galardi
Jonathan P. Gill
Jonathan M. Agudelo
1211 Avenue of the Americas
New York, NY 10036-8704
Telephone: (212) 596-9000
Facsimile: (212) 596-9090

Counsel to the Debtors
and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------x
                                                      :
In re                                                 :     Chapter 11
                                                      :
Gawker Media LLC, et al.,1                            :     Case No. 16-11700 (SMB)
                                                      :
                           Debtors.                   :     (Jointly Administered)
                                                      :
------------------------------------------------------x

 CERTIFICATE OF NO OBJECTION TO DEBTORS’ MOTION FOR ENTRY OF AN
ORDER PURSUANT TO BANKRUPTCY CODE SECTION 105(a) AND BANKRUPTCY
  RULE 9006(b) EXTENDING TIME PERIOD WITHIN WHICH DEBTORS MAY
REMOVE ACTIONS PURSUANT TO 28 U.S.C. § 1452 AND BANKRUPTCY RULE 9027


        PLEASE TAKE NOTICE OF THE FOLLOWING:

        1.       On August 5, 2016, the Debtors filed and served the Debtors’ Motion for Entry of

an Order Pursuant to Bankruptcy Code Section 105(a) and Bankruptcy Rule 9006(b) Extending

Time Period Within Which Debtors May Remove Actions Pursuant to 28 U.S.C. § 1452 and

Bankruptcy Rule 9027 (the “Motion”) [Docket No. 151], and attached as Exhibit A thereto, a

proposed order granting the Motion (the “Proposed Order”).


1
  The last four digits of the taxpayer identification number of the debtors are: Gawker Media LLC (0492); Gawker
Media Group, Inc. (3231); and Kinja Kft. (5056). The offices of Gawker Media and Gawker Media Group, Inc. are
located at 114 Fifth Avenue, 2d Floor, New York, NY 10011. Kinja Kft.’s offices are located at Andrassy ut 66.
1062 Budapest, Hungary.


58606051_1
16-11700-smb      Doc 210      Filed 08/22/16 Entered 08/22/16 10:05:01         Main Document
                                           Pg 2 of 3



        2.     On August 5, 2016, the Debtors filed the Notice of Debtors’ Motion for Entry of

an Order Pursuant to Bankruptcy Code Section 105(a) and Bankruptcy Rule 9006(b) Extending

Time Period Within Which Debtors May Remove Actions Pursuant to 28 U.S.C. § 1452 and

Bankruptcy Rule 9027 (the “Notice”) [Docket No. 151].

        3.     Pursuant to the Notice, responses to the Motion were due no later than August 18,

2016 at 4:00 p.m. (prevailing Eastern Time) (the “Objection Deadline”).

        4.     On August 6, 2016, the Debtors served the Notice, Motion and Proposed Order as

set forth in the Affidavit of Service [Docket No. 157].

        5.     The undersigned further certifies that the Debtors have not received any answer,

objection or other responsive pleading with respect to the Motion and that no such answer,

objection or other responsive pleading has appeared on the Bankruptcy Court’s docket in the

Debtors’ chapter 11 cases.



                         [remainder of this page intentionally left blank]




58606051_1
16-11700-smb     Doc 210     Filed 08/22/16 Entered 08/22/16 10:05:01           Main Document
                                         Pg 3 of 3



        6.    There having been no answer, objection, or other responsive pleadings filed by

the Objection Deadline, the Debtors will submit to the Court for entry a proposed order

approving the Motion substantially in the form that was attached to the Motion without a

hearing.



        Dated: August 22, 2016
        New York, New York


                                            /s/ Gregg M. Galardi
                                            ROPES & GRAY LLP
                                            Gregg M. Galardi
                                            Jonathan P. Gill
                                            Jonathan M. Agudelo
                                            1211 Avenue of the Americas
                                            New York, NY 10036-8704
                                            Telephone: (212) 596-9000
                                            Facsimile: (212) 596-9090
                                            gregg.galardi@ropesgray.com
                                            jonathan.gill@ropesgray.com
                                            jonathan.agudelo@ropesgray.com

                                            Counsel to the Debtors
                                            and Debtors in Possession




58606051_1
